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                EXHIBIT 2
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No.5

                                                 EXECUTIVE ORDER

         Declaration of a Disaster Emergency in the Counties of the Bronx, Kings, New York, Richmond and Queens Due
                                     to Conditions at Rikers Island Correctional Center


         WHEREAS, the Rikers Island Correctional Center has been facing a severe staffing shortage in recent months;

         WHEREAS, the conditions in the facilities have led to an unsafe, life-threatening envir6nment for both the inmates
and the staff;

        WHEREAS, a federal monitor appointed to oversee the Correctional Center reported a "pervasive level of disorder and
chaos," in the facilities in its Eleventh Report of the Nunez Independent Monitor;

        WHEREAS, there has been an increased number of _deaths of inmates at Rike rs Island this year;

        WHEREAS, there is a need to facilitate the use of virtual court appearances to expedite proceedings and to reallocate
corrections department staff from transportation and production of defendants to housing supervision and safety;

         NOW, THEREFORE, I, KATHY HOCHUL, Governor of the State of New York, by virtue of the authority vested
in roe by the Constitution of the State of New York and Section 28 of Article 2-B of the Executive Law, do hereby find that a
disaster has occurred and is ongoing for which the affected local governments are unable to respond adequately. Therefore, I
hereby declare a state disaster emergency, effective September 28, 2021 and until further notice in Bronx, Kings, New York,
Richmond and Queens counties; and

           FURTHER. by virtue of the authority vested in me by Section 29-a of Article 2-B of the Executive Law to
.temporarily suspend or modify any statute, local law, ordinance, order, rule, or regulation, or parts thereof, during a state
 disaster emergency, .jf compliance Vvith such would prevent, hinder, or delay action necessary to cope with the disaster
emergency, I hereby temporarily suspend and modify the following through October 28, 2021:

                 •   Article 182 of the Criminal Procedure Law to the extent necessary to allow a court to dispense with the
                     personal appearance of any party or witness and conduct by means of electronic appearances: (i) except
                     for good cause shown, any arraignment in supreme court on an indictment or superior court information,
                     calendar call, court conference or motion argument; (ii) provided that the defendant consents, any plea,
                     sentence or testimony in the grand jury by a defendant; and (iii) provided that the defendant and the
                     prosecutor consent, any evidentiary hearing or non-jury trial.


                                                                     G I V EN under my hand and the Privy Seal of the State
                                                                             in the City of Albany this twenty-eighth day of
                                                                                September in the year tvvo thousand twenty-one.




        BY THE GOVERNOR




                 Secretary to the Govem_or
